




NO. 07-04-0530-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



MARCH 2, 2005



______________________________



STEPHEN ALLEN BEARD, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE

_________________________________



FROM THE 47TH DISTRICT COURT OF POTTER COUNTY;



NO. 49,044-A; HONORABLE HAL MINER, JUDGE

_______________________________



Before JOHNSON, C.J., and QUINN and CAMPBELL, JJ.

MEMORANDUM OPINION

Pending before this Court is appellant’s motion to dismiss his appeal. &nbsp;Appellant and his attorney both have signed the document stating that appellant withdraws his appeal. &nbsp;Tex. R. App. P. 42.2(a). &nbsp;No decision of this Court having been delivered to date, we grant the motion. &nbsp;Accordingly, the appeal is dismissed. &nbsp;No motion for rehearing will be entertained and our mandate will issue forthwith.

James T. Campbell

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice



Do not publish.


